Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27800 Filed 03/29/23 Page 1 of 7




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  BEVERLY ZIMMERMAN, et al., on
  behalf of themselves and all others
  similarly situated,                        Case No. 1:17-cv-1062

        Plaintiffs,                          Hon. Hala Y. Jarbou

  v.

  THE 3M COMPANY f/k/a Minnesota
  Mining and Manufacturing Co., et al.,

        Defendants.


       ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
              ATTORNEYS’ FEES, LITIGATION COSTS,
                    AND SERVICE AWARDS

       THIS MATTER, having come before the Court for consideration of Plaintiffs’

 Unopposed Motion for Attorneys’ Fees, Litigation Costs and Service Awards (“Fee

 Motion”);

       WHEREAS, Defendants The 3M Company f/k/a Minnesota Mining and

 Manufacturing Co., et al. (“3M”) and Wolverine WorldWide, Inc. (“Wolverine”)

 (collectively “Defendants”) and Plaintiffs Therese Cooper, Dennis Gregory, Malia

 Gregory, Megan Johns, Michael Johns, Michelle VanWuffen (individually and as

 trustee of the Terry Alan VanWuffen and Michelle Lisa VanWuffen Trust), Terry

 VanWuffen (individually and as trustee of the Terry Alan VanWuffen and Michelle
Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27801 Filed 03/29/23 Page 2 of 7




 Lisa VanWuffen Trust), Rosalyn Ingham, Paul Groenendal, Nancy James,

 (individually and as Trustee of the James Nancy I Trust), and Theodore James

 (collectively “Plaintiffs”) reached a Class Settlement (the “Settlement”);

         WHEREAS the Parties submitted the Settlement Agreement together with

 Plaintiffs’ Unopposed Motion for Preliminary Approval of the proposed settlement

 to the Court;

         WHEREAS, the Court provisionally certified a Settlement Class and gave its

 preliminary approval of the Settlement on September 19, 2022 (the “Preliminary

 Approval Order”) (ECF No. 623) and directed the Parties to provide notice to the

 Class of the proposed Settlement and Final Approval Hearing by regular mail and

 pursuant to the approved Notice Plan, which included a dedicated website, toll-free

 number and a targeted media plan.

         WHEREAS, the Court-appointed General Administrator, Angeion Group

 LLC (“Angeion”) effectuated notice to the Settlement Class in accordance with the

 Preliminary Approval Order and also pursuant to the notice requirements set forth

 in 28 U.S.C. § 1715;

         WHEREAS Plaintiffs submitted their Unopposed Fee Motion on March 3,

 2023.

         WHERAS, on March 29, 2023, the Court conducted the Final Approval

 Hearing to determine whether the proposed Settlement is fair, reasonable, and
Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27802 Filed 03/29/23 Page 3 of 7




 adequate, whether the Settlement should be granted final approval by the Court; and

 whether the Court should grant Plaintiffs’ Unopposed Fee Motion; and

       WHEREAS, the Parties having appeared at the Final Approval Hearing;

       THEREFORE, after reviewing the Plaintiffs’ Unopposed Fee Motion and

 hearing from the attorneys for the Parties, and for the reasons set forth on the record;

       IT IS ON THIS ____        March 2023, ORDERED AND ADJUDGED
                     29th day of ______,

 that the Court finds and orders as follows:

       1.     All terms herein shall have the same meaning as defined in the

 Settlement Agreement.

       2.     This Order incorporates and makes part hereof the Settlement

 Agreement.

       3.     This Court has jurisdiction over the subject matter of this Litigation and

 over the Parties to this Litigation, including all Settlement Class Members.

       4.     Notice to the Settlement Class required by Rule 23(e) of the Federal

 Rules of Civil Procedure has been provided in accordance with the Court’s

 Preliminary Approval Order, by mailing such Notice by first-class mail. The Court

 Appointed General Administrator, Angeion, also placed the Notice on the settlement

 website. Thus, notice has been given in an adequate and sufficient manner,

 constitutes the best notice practicable under the circumstances, and satisfies all

 requirements of Rule 23(e) and due process.
Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27803 Filed 03/29/23 Page 4 of 7




        5.     The Settlement, including the requested fees and expenses, was a result

 of arm’s-length negotiation by experienced counsel with an understanding of the

 strengths and weaknesses of their respective cases. In its Final Order, the Court has

 determined that the Settlement, including the requested fees and expenses, is fair,

 reasonable, and adequate, and serves the best interests of the Settlement Class in

 light of all the relevant factors.

        6.     The Parties and Settlement Class Members have submitted to the

 exclusive jurisdiction of this Court for any suit, action, proceeding, or dispute arising

 out of this Settlement.

        7.     Class Counsel are hereby awarded attorneys’ fees in the amount of one-

 third (33⅓%) of the Settlement Fund, after deduction of reasonable litigation costs

 and service awards, or $17,416,825.04, a sum which the Court finds to be fair and

 reasonable. The attorneys’ fees awarded will be paid to Class Counsel by Defendants

 in accordance with the terms of the Settlement Agreement.

        8. Class Counsel are hereby awarded reasonable litigation costs in the amount

 of $1,514,524.88, a sum which the Court finds to be fair and reasonable. The

 reasonable litigation costs will be paid to Class Counsel by Defendants in accordance

 with the terms of the Settlement Agreement.

        8.     In making this award of attorneys’ fees and costs, the Court has

 considered and found that the requested fee award is reasonable because:
Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27804 Filed 03/29/23 Page 5 of 7




             a. Settlement Class Members will benefit significantly from the

               Settlement that occurred as a result of Class Counsel’s efforts;

             b. The fee sought by Class Counsel has been reviewed and approved as

               reasonable by Plaintiffs, who oversaw the prosecution and resolution

               of the Litigation;

             c. Notice was mailed to potential Settlement Class Members stating that

               Class Counsel would apply for attorneys’ fees in an amount not to

               exceed one-third of the Settlement Fund, reasonable litigation costs,

               and Service Awards to Class Representatives not to exceed $235,000

               in the aggregate;

             d. Class Counsel have conducted the Litigation and achieved the

               Settlement with diligent advocacy against experienced and skilled

               opposing counsel;

             e. The Litigation raised a number of complex factual and legal issues;

             f. Had a Settlement not been achieved by Class Counsel, there was a

               significant risk that Plaintiffs and the other members of the

               Settlement Class may have recovered less or nothing from

               Defendants;
Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27805 Filed 03/29/23 Page 6 of 7




              g. The amount awarded for attorneys’ fees, and expenses are fair,

                   reasonable, appropriate, and consistent with awards in similar cases;

                   and

              h.     The service awards to Plaintiffs, totaling $235,000, are fair,

                   reasonable, appropriate and consistent with service awards in similar

                   cases.

       9.     Class Representatives in Tier One (as defined in the Settlement

 Agreement at § 1.ww., ECF No. 617-2, PageID.26867; see also id. at § 6.a.,

 PageID.26877-26878), Therese Cooper, Dennis Gregory, Malia Gregory, Megan

 Johns, Michael Johns, Michelle VanWuffen and Terry VanWuffen, are hereby

 approved Service Awards of $25,000 each in recognition of their time and efforts

 on behalf of the Class. Class Representatives in Tier Two (as defined in the

 Settlement Agreement at § 1.ww., id.), Rosalyn Ingham, Paul Groenendal, Nancy

 James, individually and as Trustee of the James Nancy I Trust, and Theodore James,

 are hereby approved a Service Award of $15,000 each in recognition of their time

 and efforts on behalf of the Class. The total aggregate amount of Service Awards

 totals $235,000, which the Court concludes is a reasonable method of compensating

 the Class Representatives for the time and effort expended in assisting the

 prosecution of this litigation and the risks incurred by becoming a litigant.
Case 1:17-cv-01062-HYJ-SJB ECF No. 650, PageID.27806 Filed 03/29/23 Page 7 of 7




       10.    Any appeal or any challenge affecting this Court’s approval regarding

 any attorneys’ fees and cost application shall in no way disturb or affect the finality

 of the Judgment.

       11.    The Court finds that no just reason exists for delay in entering this

 Order. Accordingly, the Clerk is hereby directed to enter this Order.



       IT IS SO ORDERED



  Dated: ______________
          March 29, 2023                   /s/ Hala Y. Jarbou
                                          _________________________________
                                          HALA Y. JARBOU
                                          CHIEF UNITED STATES DISTRICT JUDGE
